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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 AUSTIN PLUMMER                                     Civil Action No. 19-453-KBJ

 Plaintiff,

 v.

 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA, et al.

 Defendants.


              DEFENDANT THE DISTRICT OF COLUMBIA’S
    REPLY BRIEF IN SUPPORT OF ITS PENDING MOTION TO MOTION FOR
  SUMMARY JUDGMENT OR IN THE ALTERNATIVE TO DISMISS PLAINTIFF’S
                        COMMON LAW CLAIMS

        Defendant the District of Columbia (“the District”) hereby replies to Plaintiff’s

opposition (ECF DKT # 11) to its pending Motion for Summary Judgment (ECF DKT # 7).

        As a preliminary matter, Plaintiff’s counsel claims (p. 2) that he has not been provided

with the addresses for unserved co-defendants Robilyn Brown (pled as “Robin Brown”) and

Denise Thompson (pled as “Denise Thomas”). Plaintiff’s counsel is mistaken: the last known

addresses for both Brown and Thompson were provided to him on March 5, 2019. When the

District filed its Errata Notice of Removal under Seal, it sent an unredacted copy to Plaintiff’s

counsel via electronic mail. The unredacted Errata Notice of Removal includes the last known

addresses of both Brown and Thompson. The email enclosing the Errata Notice of Removal is

attached hereto as Attachment A. Regardless, Plaintiff does not explain why the issue of service

bears, in any way, on whether this Motion should be granted.

        Plaintiff does not deny that he failed to file a § 12-309 Notice with the District. Pl. Brief,

passim. Plaintiff nonetheless argues (p. 4) that this Motion should be denied because the District
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“did not provide an affidavit or other summary judgment material on the police report prong” of

D.C. Code § 12-309. A police report would not have been generated except at Plaintiff’s behest

for this DOC overdetention case. If Plaintiff had filed a police report, then he is presumably

aware that he did so. But Plaintiff does provide the police report so that it can be analyzed to

determine its adequacy, nor does not even provide an Affidavit by Plaintiff stating that the police

report exists. Plaintiff does not even claim that he filed a police report. Instead, Plaintiff’s

counsel has provided an Attorney Affidavit (ECF DKT # 11-2) stating, “An opportunity for

discovery in this case could lead to a police report or similar document to satisfy D.C. Code §

12-309.” Id. If Plaintiff filed a police report, he would know about it. His failure to claim that he

cause a police report to be generated is a clear indication that it does not exist.

       Further, even if a police report existed, it almost certainly could not satisfy the §12-309

Notice requirement. A police report is seldom sufficient substitute notice under the high standard

established in Miller v. Spencer, D.C. App., 330 A.2d 250 (1974), Brown v. District of Columbia,

D.C. App., 304 A.2d 292 (1973), and Jenkins v. Dist. of Columbia, 379 A.2d 1177, 1178 (D.C.

1977). D.C. Code §12-309 “contemplates that the ‘report in writing by the Metropolitan Police

Department, in regular course of duty,’ shall notify the District of Columbia of an injury to

person or damage to property.'” Miller v. Spencer, 330 A.2d at 251. Plaintiff has alleged

neither a personal injury or property damage: he has alleged overdetention by the District’s

Department of Corrections. ECF DKT #1-1, Ex. B, Pl. Amended Compl., ¶ 14. A police report

could potentially substitute for a §12-309 Notice following a car accident with a government

vehicle, assuming the police report contained all the factual components required under §12-309.

But a police report for an arrest does not serve as a §12-309 notice for a later claim by the arrestee

of false arrest. Jenkins v. Dist. of Columbia, 379 A.2d at 1178; see also




                                                  2.
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Allen v. D.C., 533 A.2d 1259, 1263 (D.C. 1987)(finding that although an arrest and detention

were indicated generally in the police reports, the facts "did not indicate a basis for potential

liability over and above that which exists in many law enforcement operations"). It cannot serve

as one in this overdetention case either. Regardless, Plaintiff does not claim that he filed a police

report, and Plaintiff’s common law claims against the District are therefore ripe for summary

judgment because he failed to a file a 12-309 Notice.

                                          CONCLUSION

       For all these reasons, Plaintiff’s common law claims against the District of Columbia

should be dismissed with prejudice.

DATED: March 21, 2019                  Respectfully submitted,

                                       KARL A. RACINE
                                       Attorney General for the District of Columbia

                                       GEORGE C. VALENTINE
                                       Deputy Attorney General
                                       Civil Litigation Division

                                       /s/ Michael K. Addo
                                       MICHAEL K. ADDO [1008971]
                                       Chief, Civil Litigation Division, Section IV

                                       /s/ Benjamin E. Bryant
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                                       Myrick, Shelly Chisholm, and Kevin Proctor




                                                  3.
          Case 1:19-cv-00453-KBJ Document 12 Filed 03/21/19 Page 4 of 8



                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of this brief was electronically filed on this day, March 21,

2019. I further certify that Plaintiff’s counsel was served with a copy via electronic filing.

                                       /s/ Benjamin E. Bryant
                                       BENJAMIN E. BRYANT




                                                 4.
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ATTACHMENT “A”
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Bryant, Benjamin (OAG)

From:                 Bryant, Benjamin (OAG)
Sent:                 Tuesday, March 5, 2019 7:05 PM
To:                   William Claiborne (claibornelaw@gmail.com)
Cc:                   Michael Addo (OAG) (michael.addo@dc.gov)
Subject:              FW: Activity in Case 1:19-cv-00453-KBJ PLUMMER v. DISTRICT OF COLUMBIA et al Sealed Motion for
                      Leave to File Document Under Seal
Attachments:          Motion to File Document under Seal.pdf; Ex B - Amended Compl.pdf; ERRATA - Notice of
                      Removal.pdf; Ex A - Compl.pdf


Mr. Claiborne, 
 
The District’s Motion to file its Errata Notice of Removal is attached.  Please do not provide any home addresses of 
current or former DOC employees to any third parties, other than for the purpose of serving process on them. 
 
Thank you.  
 
Sincerely, 
 
Benjamin E. Bryant [1047632] 
Assistant Attorney General 
Civil Litigation Division, Section IV 
Office of the Attorney General for the District of Columbia 
441 4th Street, NW, Suite 630 South 
Washington, D.C. 20001 
202‐724‐6652 (phone) 
202‐730‐0624 (fax) 
benjamin.bryant@dc.gov 
 
From: DCD_ECFNotice@dcd.uscourts.gov <DCD_ECFNotice@dcd.uscourts.gov>  
Sent: Tuesday, March 5, 2019 7:02 PM 
To: DCD_ECFNotice@dcd.uscourts.gov 
Subject: Activity in Case 1:19‐cv‐00453‐KBJ PLUMMER v. DISTRICT OF COLUMBIA et al Sealed Motion for Leave to File 
Document Under Seal 
 
CAUTION: This email originated from outside of the DC Government. Do not click on links or open attachments unless you recognize 
the sender and know that the content is safe. If you believe that this email is suspicious, please forward to phishing@dc.gov for 
additional analysis by OCTO Security Operations Center (SOC). 
 

This is an automatic e‐mail message generated by the CM/ECF system. Please DO NOT RESPOND to this e‐mail 
because the mail box is unattended.  
***NOTE TO PUBLIC ACCESS USERS*** Judicial Conference of the United States policy permits attorneys of record and 
parties in a case (including pro se litigants) to receive one free electronic copy of all documents filed electronically, if 
receipt is required by law or directed by the filer. PACER access fees apply to all other users. To avoid later charges, 
download a copy of each document during this first viewing. However, if the referenced document is a transcript, the 
free copy and 30 page limit do not apply. 

                                                                1
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                                                   U.S. District Court 

                                                  District of Columbia 

Notice of Electronic Filing  
 
The following transaction was entered by Bryant, Benjamin on 3/5/2019 at 7:02 PM EDT and filed on 3/5/2019  
Case Name:          PLUMMER v. DISTRICT OF COLUMBIA et al 
Case Number:        1:19‐cv‐00453‐KBJ   




Filer:              DISTRICT OF COLUMBIA 
Document Number: 9  

Docket Text:  
SEALED MOTION FOR LEAVE TO FILE DOCUMENT UNDER SEAL filed by DISTRICT OF
COLUMBIA (This document is SEALED and only available to authorized persons.)
(Attachments: # (1) Errata Notice of Removal, # (2) Exhibit "A", Pl. Complaint, # (3) Exhibit "B",
Amended Complaint)(Bryant, Benjamin)  

 
1:19‐cv‐00453‐KBJ Notice has been electronically mailed to:  
 
Benjamin Egan Bryant     benjamin.bryant@dc.gov, michael.addo@dc.gov  
 
Philip Alexander Medley     philip.medley@dc.gov  
 
William Charles Cole Claiborne , III     claibornelaw@gmail.com, lettielor@gmail.com  
 
1:19‐cv‐00453‐KBJ Notice will be delivered by other means to::  
 
DENISE THOMAS 
Central Detention Facility (DC Jail) 
1901 D Street, SE 
Washington, DC 20003 
 
ROBILYN BROWN 
Central Detention Facility (DC Jail) 
1901 D Street, SE 
Washington, DC 20003 

The following document(s) are associated with this transaction: 

Document description:Main Document  
Original filename:suppressed 
Electronic document Stamp: 
[STAMP dcecfStamp_ID=973800458 [Date=3/5/2019] [FileNumber=5905827‐0]  
[a612a27de7d50e43d13a1819ed06c5a3446fb1770b4500cbe42fcf2501d6e1def9eaa 
ed99841c51fcc22a80ee8c2515b5f604a3c422f055d5f4118d972f3df05]] 
Document description:Errata Notice of Removal 
Original filename:suppressed 
Electronic document Stamp: 
[STAMP dcecfStamp_ID=973800458 [Date=3/5/2019] [FileNumber=5905827‐1]  
                                                            2
               Case 1:19-cv-00453-KBJ Document 12 Filed 03/21/19 Page 8 of 8
 [a6696874ca351e34c0b4708890dea060f3cd36a8a31de55c115ad635655fa1a1ada7e 
 4ca12c863c8589b0ef20c480de85b82cdc4a381c68744f738d9cff36a1c]] 
 Document description:Exhibit "A", Pl. Complaint 
 Original filename:suppressed 
 Electronic document Stamp: 
 [STAMP dcecfStamp_ID=973800458 [Date=3/5/2019] [FileNumber=5905827‐2]  
 [927475df923bd1a7484eb683045ea8ee90cb04ace9ed7d29f64f84a2d1e02b469e454 
 c4d4799f30672983332f2dae294595a5e1396c4cdd9ec35bb47228960a9]] 
 Document description:Exhibit "B", Amended Complaint 
 Original filename:suppressed 
 Electronic document Stamp: 
 [STAMP dcecfStamp_ID=973800458 [Date=3/5/2019] [FileNumber=5905827‐3]  
 [850d95a22125e7185c5259a150da62165e3aca6bb389784f9d1d64c541f07ccca69ea 
 dd9489429f85b576a82dc62718edaf4aa778b8e85cf681484ee66638931]] 
 




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